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                          IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF GEORGIA
                                      (ATHENS DIVISION)

 CERTUSBANK, N.A., as successor by
 assignment to FIRST GEORGIA
  BANKING COMPANY,

            Plaintiff,                                 CIVIL ACTION
                                                       NO. 3:12-cv-00046-CDL
 v.



 MLJJ PROPERTIES, LLC,
 MARTIN J. MULLIGAN, and
 LINDA D. CHAMBERLIN,

            Defendants.



   DEFENDANTS5 STATEMENT OF MATERIAL FACTS AS TO WHICH
  THERE ARE ISSUES TO BE TRIED AND RESPONSE TO PLAINTIFFS
    AMENDED AND RESTATED STATEMENT OF MATERIAL FACTS

           Defendants MLJJ, LLC, Martin J. Mulligan and Linda D. Chamberlin

("Defendants" ), pursuant to Rule 56 of the Federal Rules of Civil Procedure and

Local Rule 56, MDGa., hereby file their collective Statement of Material Facts as

to Which There Are Issues to be Tried and Response to Plaintiffs Amended and

Restated Statement of Material Facts [Doc. No. 27] as set forth below.

Statement of Material Facts as to Which There Are Issues to be Tried

           1.         Plaintiff has failed to demonstrate through any admissible evidence

that it is the assignee of the loan documents at issue and/or the party entitled to

enforce such documents.             Specifically, the "Assignment of Loan Documents,"


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upon which Plaintiff exclusively relies for standing, is executed by the same

individual on behalf of both the assignor and assignee.            Notably, there is no

evidence in the record that the individual signatory was granted authority to assign

the loan documents at issue from the FDIC to his employer.

          2.         Plaintiff has failed to demonstrate through any admissible evidence

the amounts allegedly owing pursuant to the loan documents. Instead, Plaintiff has

introduced a single "loan history statement" that constitutes inadmissible hearsay.

Specifically, Plaintiff purports to introduce the "loan history statement" under the

business record exception to the hearsay rule, but Plaintiff has failed to produce a

qualified custodian with any personal knowledge of how the document was

generated or maintained.

                 Response to Plaintiff's Statement of Material Facts


           1.        For purposes    of Plaintiffs Motion for Summary Judgment,

Defendants do not dispute the factual allegations in paragraph 1 of Plaintiffs

Statement of Material Facts ("SOF").

          2.         For purposes of Plaintiffs Motion for         Summary Judgment,

Defendants do not dispute the factual allegations in paragraph 2 of Plaintiffs SOF.

          3.         For purposes    of Plaintiffs Motion    for   Summary Judgment,

Defendants do not dispute the factual allegations in paragraph 3 of Plaintiff s SOF.




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           4.        For purposes of Plaintiffs Motion for        Summary Judgment,

Defendants do not dispute the factual allegations in paragraph 4 of Plaintiff s SOF.

           5.         For purposes of Plaintiffs Motion for       Summary Judgment,

Defendants do not dispute the factual allegations in paragraph 5 of Plaintiff s SOF.

           6.        For purposes of Plaintiffs Motion for        Summary Judgment,

Defendants do not dispute the factual allegations in paragraph 6 of Plaintiff s SOF.

           7.        Defendants maintain there is a genuine issue of material fact with

respect to paragraph 7 of Plaintiffs SOF. Specifically, the "Assignment of Loan

Documents," upon which Plaintiff exclusively relies for standing, is executed by

the same individual on behalf of both the assignor and assignee. Notably, there is

no evidence in the record that the individual signatory was granted authority to

assign multi-million dollar assets from the FDIC to his employer. See Affidavit of

Martin Mulligan at U4.

           8.        For purposes of Plaintiffs Motion for        Summary Judgment,

Defendants do not dispute the factual allegations in paragraph 8 of Plaintiff s SOF.

           9.        For purposes of Plaintiffs Motion for        Summary Judgment,

Defendants do not dispute the factual allegations in paragraph 9 of Plaintiffs SOF.

           10.       For purposes of Plaintiffs Motion for        Summary Judgment,

Defendants do not dispute the factual allegations in paragraph 10 of Plaintiffs

SOF.




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           11.        For purposes of Plaintiffs Motion for            Summary Judgment,

Defendants do not dispute the factual allegations in paragraph 11 of Plaintiffs

SOF.


           12.        For purposes of Plaintiffs Motion for Summary Judgment,

Defendants do not dispute that amounts were advanced under the Note and never

paid back. Defendants, however, maintain there is a genuine issue of material fact

with respect to the remaining allegations of paragraph 12 of Plaintiffs SOF.

Plaintiff has failed to demonstrate through any admissible evidence the amounts

allegedly owing pursuant to the loan documents. Instead, Plaintiff has introduced a

single "loan history statement" that constitutes inadmissible hearsay. Specifically,

Plaintiff purports to introduce the "loan history statement" under the business

record exception to the hearsay rule, but Plaintiff has failed to produce a qualified

custodian with any personal knowledge of how the document was generated or

maintained. Plaintiffhas not satisfied its burden in proving damages.

           13.            Defendants maintain there is a genuine issue of material fact with

respect to the allegations of paragraph 13 of Plaintiff s SOF. Plaintiff has failed to

demonstrate through any admissible evidence the amounts allegedly owing

pursuant to the loan documents. Instead, Plaintiff has introduced a single "loan

history statement" that constitutes inadmissible hearsay. Specifically, Plaintiff

purports to introduce the "loan history statement" under the business record



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exception to the hearsay rule, but Plaintiff has failed to produce a qualified

custodian with any personal knowledge of how the document was generated or

maintained. Plaintiff has not satisfied its burden in proving damages.

           14.       Defendants maintain there is a genuine issue of material fact with

respect to the allegations of paragraph 14 of Plaintiffs SOF. Plaintiff has failed to

demonstrate through any admissible evidence the amounts allegedly owing

pursuant to the loan documents. Instead, Plaintiff has introduced a single "loan

history statement" that constitutes inadmissible hearsay.         Specifically, Plaintiff

purports to introduce the "loan history statement" under the business record

exception to the hearsay rule, but Plaintiff has failed to produce a qualified

custodian with any personal knowledge of how the document was generated or

maintained. Plaintiff has not satisfied its burden in proving damages.

           15.       Defendants maintain there is a genuine issue of material fact with

respect to paragraph 15 of Plaintiffs SOF. Specifically, the "Assignment of Loan

Documents," upon which Plaintiff exclusively relies for standing, is executed by

the same individual on behalf of both the assignor and assignee. Notably, there is

no evidence in the record that the individual signatory was granted authority to

assign multi-million dollar assets from the FDIC to his employer. Plaintiff also has

failed to demonstrate through any admissible evidence the amounts allegedly

owing pursuant to the loan documents. Instead, Plaintiff has introduced a single



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"loan history statement" that constitutes inadmissible hearsay.                 Specifically,

Plaintiff purports to introduce the "loan history statement" under the business

record exception to the hearsay rule, but Plaintiff has failed to produce a qualified

custodian with any personal knowledge of how the document was generated or

maintained. As Plaintiff has failed to prove that it has standing to enforce the Note

and has failed to present any admissible evidence of the amounts owing pursuant to

the Note, a material issue of fact exists as to Plaintiffs alleged right to statutory

attorneys' fees.

          16.             Defendants maintain there is a genuine issue of material fact with

respect to the allegations of paragraph 16 of Plaintiffs SOF. Plaintiff has failed to

demonstrate through any admissible evidence the amounts allegedly owing

pursuant to the loan documents. Instead, Plaintiff has introduced a single "loan

history statement" that constitutes inadmissible hearsay. Specifically, Plaintiff

purports to introduce the "loan history statement" under the business record

exception to the hearsay rule, but Plaintiff has failed to produce a qualified

custodian with any personal knowledge of how the document was generated or

maintained. Plaintiff has not satisfied its burden in proving damages.

           17.       For purposes of Plaintiffs Motion for Summary Judgment,

Defendants do not dispute the factual allegations in paragraph 17 of Plaintiffs

SOF.




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           Respectfully submitted, this, the 26th day of April, 2013.

                                     HARTMAN SIMONS & WOOD LLP



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                             CERTIFICATE OF SERVICE

          I hereby certify that I have this day served counsel for the opposing party

with the foregoing by depositing a copy of same in the United States mail in an

envelope properly addressed to the following, with adequate postage thereon to

ensure proper delivery:

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          This 26th day of April, 2013.


                                           Isi Jared M. Lina
                                           Jared M. Lina




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